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                                          AND ORDER




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                                        ORDER
          The Court having read the Emergency Motion Requesting Trial Transcripts Be
 Transcribed at Government's Expense (ECF No. 243) filed by Defendant Lance Kellow
 on August 21, 2013, is hereby GRANTED in part and DENIED in part, as follows:

         IT IS HEREBY ORDERED that Defendant Lance Kellow's Emergency Motion
 Requesting Trial Transcripts Be Transcribed at Government's Expense (ECF No. 243) is
 GRANTED.

          IT IS FURTHER ORDERED that Defendant's request for an expedited delivery
 time is DENIED.

           IT IS FURTHER ORDERED that the trial transcripts relating to the Defendant
 shall be transcribed in the ORDINARY delivery course, to be delivered within thirty (30)
 calendar days after receipt of the order for the same.

        IT IS FURTHER ORDERED that the trial transcripts shall be prepared at the
 expense of the United States pursuant to the Criminal Justice Act.

         DATED this 11th day of September, 2013.



                                                 _____________________________
                                                 Gloria M. Navarro
                                                 United States District Judge
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